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                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF INDIANA
                                SOUTH BEND DIVISION

  GARRY EARL SHIDLER,                        )
                                             )
                       Plaintiff             )
                                             )      CAUSE NO. 3:05-CV-804 RM
         v.                                  )
                                             )
  ROBERT MOORE, et al.                       )
                                             )
                       Defendants            )

                                   OPINION AND ORDER

         This matter is before the court sua sponte to reconsider its summary judgment ruling

  that permitted Garry Earl Shidler leave to proceed with claims for putative damages. When

  the court issued its summary judgment order, there was no binding authority in this circuit

  prohibiting punitive damages in a RLUIPA case without physical injury. That changed on

  April 24, 2008 when the Seventh Circuit handed down Koger v. Bryan.

         [B]ecause he was in prison when the case arose, he must proceed under the
         Prisoner Litigation Reform Act, which takes compensatory and punitive
         damages off the table as he suffered no “physical injury” but only, at best, a
         “mental or emotional injury.” And that limits his recovery to nominal
         damages.

  Koger v. Bryan, No. 05-1904, slip op. at 39, ___ F.3d ___, ___, 2008 WL 1821311, 2008 U.S.

  App. LEXIS 8825 (7th Cir. Apr. 24, 2008) (Evans, J., concurring). So too in this case.

         Mr. Shidler has presented no evidence of a physical injury, so his claims are limited

  to nominal damages. “[N]ominal damages, of which $1 is the norm, are an appropriate

  means of vindicating rights whose deprivation has not caused actual, provable injury.”

  Kyle v. Patterson, 196 F.3d 695, 697 (7th Cir. 1999). As a result of the ruling in Koger, this
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  case is now proceeding to a jury trial on a claim that could, at most, result in a verdict for

  one dollar and costs. In Koger, Judge Evans asked if this was a “[a] waste of time?” Koger,

  slip at 40. Then he answered the question by saying, “Some may disagree, but I lean

  towards saying ‘yes.’” Id. So in this case, the court urges the parties to seriously consider

  settlement options prior to the final pretrial conference.

         For the foregoing reasons, the court:

                (1) RECONSIDERS its summary judgment ruling (docket # 122);

                (2) VACATES that portion of the summary judgment order which permitted

         Garry Earl Shidler to proceed with claims for putative damages;

                (3) GRANTS Garry Earl Shidler leave to proceed against:

                        Salley Stevenson in her individual capacity for declaratory
                relief and nominal damages for a violation of RLUIPA (42 U.S.C. §
                2000cc-1) for denying him prayer oil when she prohibited all oil at the
                prison, but not for denying him the ability to purchase non-allergenic
                prayer oil after oils were again permitted; and

                       Chaplin Babb and Chaplin Leslie in their individual capacities
                for nominal damages for violations of RLUIPA (42 U.S.C. § 2000cc-1)
                for denying him communal worship while he was housed in the “P”
                Housing Unit from July 21, 2004 to August 6, 2004; in the “L” Housing
                Unit from August 6, 2004 to September 6, 2004; in the “N” Housing
                Unit from September 6, 2004 to November 3, 2004; and in the “E”
                Housing Unit from November 3, 2004 to about December 9, 2004;

                       and;

                (4) ENCOURAGES the parties to seriously consider settlement options before

         the final pretrial conference.

         SO ORDERED.


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       ENTERED: April 28, 2008.


                                                /s/ Robert L. Miller, Jr.
                                             Chief Judge
                                             United States District Court




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